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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI

KIMBERLY M. GARDNER,                         )
                                             )
                                             )
         Plaintiff,                          )
                                             )
v.                                           )      Case No. 4:20-cv-00060-JAR
                                             )
CHARLES A. LANE, et al.,                     )
                                             )
                                             )
         Defendants.                         )

 DEFENDANT/COUNTERCLAIMANT CHARLES A. LANE’S MOTION TO STRIKE
                   PURSUANT TO RULE 12(F)

         COMES NOW Defendant Charles A. Lane moves, pursuant to Rule 12(f), that this Court

strike from Plaintiff Kimberly Gardner’s First Amended Complaint (Doc. 42 ) paragraphs 6-9,

11, 22-99 and 101-105 for the reasons explained in his accompanying Memorandum in Support

of this motion.

         WHEREFORE, Defendant/Counterclaimant Lane requests that this Court grant this

motion, enter an order striking paragraphs 6-9, 11, 22-99 and 101-105 from Plaintiff’s First

Amended Complaint, and provide him with such other relief as is just.



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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document
was served this 13th day of March, 2020, via electronic mail through the Court’s electronic filing
system to all counsel of record:

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